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                       UNITED STATES DISTRICT COURT
                        MIDDLE DISTRICT OF FLORIDA
                              TAMPA DIVISION

   LISA N. BOSTICK,

          Plaintiff,

   v.                                 Case No. 8:16-cv-1400-T-33AAS

   STATE FARM MUTUAL AUTOMOBILE
   INSURANCE COMPANY,

          Defendant.

   _____________________________/

                                    ORDER

          This cause is before the Court pursuant to Defendant

   State Farm Mutual Automobile Insurance Company’s Motion to

   Strike Certain Expert Opinions and Testimony of Robert W.

   Johnson and James A. Mills (Doc. # 51), filed May 4, 2017.

   Plaintiff Lisa N. Bostick filed a Response in Opposition to

   Defendant’s Daubert Motion on June 5, 2017. (Doc. # 62). State

   Farm filed a Reply Memorandum on June 19, 2017. (Doc. # 69).

   For the reasons that follow, the Court denies the Motion.

   I.     Background

          Bostick filed the Complaint in state court against State

   Farm    seeking   payment   of   underinsured    motorist   benefits

   related to a car accident that occurred on November 14, 2013.




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   (Doc. # 2). The case was removed by State Farm on June 2,

   2016, based on complete diversity of citizenship. (Doc. # 1).

         On June 29, 2016, the Court entered its Case Management

   and Scheduling Order setting December 19, 2016, as Bostick’s

   deadline to disclose expert reports. (Doc. # 13). Later,

   Bostick filed an Unopposed Motion for Extension of Time to

   Complete     Discovery,    which    was    granted,   and    her   expert

   disclosure deadline was extended to February 14, 2017. (Doc.

   ## 34–35).

         Bostick has retained economic experts, Robert W. Johnson

   and James A. Mills, of Robert W. Johnson & Associates, to

   offer expert testimony at trial. (Doc. # 51). On February 13,

   2017, Bostick disclosed Johnson and Mills’ “Economic Impact

   Report” to State Farm. (Doc. # 51-1). Both experts utilized

   the   same   methodology     in    their    calculations    and    jointly

   prepared     the   report.    (Id.).       The   report    contains    the

   economists’ opinions about two types of damages: (1) the value

   of Bostick’s future medical expenses and life care needs; and

   (2) the expected value of Bostick’s future lost income. (Id.).

         At this juncture, State Farm seeks an Order striking

   Johnson and Mills’ opinions concerning Bostick’s future lost

   earnings or loss of earning capacity on the grounds that

   “those opinions are not based on sufficient facts or data.”


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   (Doc.   #    51   at   6).     State    Farm   explains    in    its   reply,

   “Defendant’s motion to strike (Doc. 51) only seeks this Court

   to enter an order striking Johnson and Mills’ opinions related

   to the expected value of Plaintiff’s future lost income.”

   (Doc. # 69 at 1).

   II.   Discussion

         Federal Rules of Evidence Rule 702, which governs the

   admissibility of expert testimony, states that:

         A witness who is qualified as an expert by
         knowledge,   skill,    experience,   training,    or
         education may testify in the form of an opinion or
         otherwise   if:   (a)   the  expert’s    scientific,
         technical, or other specialized knowledge will help
         the trier of fact to understand the evidence or to
         determine a fact in issue; (b) the testimony is
         based on sufficient facts or data; (c) the
         testimony is the product of reliable principles and
         methods; and (d) the expert has reliably applied
         the principles and methods to the facts of the case.

   Fed. R. Evid. 702.

         When    a   party      raises    an   objection     to    an   expert’s

   testimony, the Court must perform its gatekeeping duties to

   determine whether the expert testimony “is not only relevant,

   but reliable.” Daubert v. Merrell Dow Pharm., 509 U.S. 579,

   589 (1993). When deciding Daubert issues, the trial judge has

   broad discretion in how the review is conducted. Kumho Tire

   Co. v. Carmichael, 526 U.S. 137, 152 (1999). Usually, “the

   rejection of expert testimony is the exception rather than


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   the rule.” See Advisory Committee Notes to the 2000 Amendment

   to Rule 702.

         The Eleventh Circuit has adopted a three-part analysis

   for determining whether expert testimony is admissible under

   Daubert and Rule 702:

         To fulfill their obligation under Daubert, district
         courts must engage in a rigorous inquiry to
         determine whether: (1) the expert is qualified to
         testify competently regarding the matters he
         intends to address; (2) the methodology by which
         the expert reaches his conclusions is sufficiently
         reliable as determined by the sort of inquiry
         mandated in Daubert; and (3) the testimony assists
         the trier of fact, through the application of
         scientific, technical, or specialized expertise, to
         understand the evidence or to determine a fact in
         issue.

   Rink v. Cheminova, Inc., 400 F.3d 1286, 1291–92 (11th Cir.

   2005) (internal citations omitted). The party offering the

   expert has the burden of satisfying each of these elements by

   a preponderance of the evidence. Id. at 1292; see also Allison

   v. McGhan Med. Corp., 184 F.3d 1300, 1306 (11th Cir. 1999).

         A.    Johnson is Qualified

         Johnson is an economist with more than forty-four years

   of professional experience as a securities analyst, portfolio

   manager, and forensic economist. (Doc. # 62-1 at ¶ 2). He

   received an MBA from Stanford University Graduate School of

   Business and has continued his education in economics with



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   post-graduate           training.   (Id.).    Since    1981,    Johnson    has

   provided forensic economic analyses and expert testimony in

   over 200 trials and depositions. (Id.). Johnson is also the

   President of Robert W. Johnson & Associates which has provided

   economic analyses for civil litigants since 1988. (Id.).

           Based      on    these    credentials,      State    Farm   does   not

   challenge the qualifications of Johnson as an expert in the

   field       of   economics.      Therefore,   the    Court   concludes     that

   Johnson is qualified to testify competently regarding the

   Economic Impact Report and the first prong of the Daubert

   analysis is satisfied.1

           B.       Johnson and Mills’ Methodology

           Johnson and Mills have calculated the expected value of

   Bostick’s future lost income by looking at W-2 tax forms,

   merit increase forms, and pay stubs from the University of

   Tampa. (Doc. # 62-1 at ¶ 6). Their methodology is a standard

   one, generally used by forensic economists in litigation

   matters. (Id. at 5). Yet, State Farm seeks to exclude the



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           The Court has not been provided with Mills’ CV.
   However, in the Motion to Strike (Doc. # 51) and Reply (Doc.
   # 69), State Farm does not raise issue with Mills’
   qualifications as an expert.      The parties will have the
   opportunity at trial to present Mills’ credentials and, at
   that time, the Court will be prepared to make further findings
   regarding his qualifications.


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   expert testimony of Johnson and Mills “because their opinions

   are speculative, contrary to the principals set forth in

   Daubert, . . . and are unduly prejudicial to [Bostick].” (Doc.

   # 51 at 3). State Farm argues that Johnson and Mills’ opinions

   are not “based upon sufficient facts or data,” and they relied

   upon erroneous assumptions in their calculations. (Id. at 2–

   3).

         State Farm’s main contention is that Johnson and Mills

   should have used different foundational information in their

   calculations, such as statements from Bostick’s deposition,

   instead of the relied-upon facts. (Id.). The Court is not

   convinced. State Farm’s disagreement with the input Johnson

   and Mills relied upon in their calculations is not enough to

   warrant striking their testimony. In Taylor, Bean & Whitaker

   Mortg. Corp. v. GMAC Mortg. Corp., No. 5:05-cv-260-Oc-GRJ,

   2008 WL 3819752, at *5 (M.D. Fla. Aug. 12, 2008), the court

   noted:

         [T]hese arguments go more to the weight of the
         evidence, than the admissibility of the evidence
         under Daubert. The Court need not determine that
         the expert [defendant] seeks to offer into evidence
         is irrefutable or certainly correct. The certainty
         and correctness of [the expert’s] opinion will be
         tested through cross-examination and presentation
         of contrary evidence and not by a Daubert
         challenge. Indeed the Court’s role as gatekeeper
         is not intended to supplant the adversary system or
         the role of the jury.


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   Id.

         The reasoning adopted in Taylor, Bean & Whitaker is

   applicable here.     Although Johnson and Mills did not include

   certain variables – such as disability coverage - in their

   analysis, State Farm has not shown that Johnson and Mills’

   testimony is unsound. (Doc. # 62 at 2). State Farm should

   resolve their challenges to the experts’ methodology through

   the     adversary     system.     “Vigorous      cross-examination,

   presentation of contrary evidence, and careful instruction on

   the burden of proof are the traditional and appropriate means

   of attacking shaky but admissible evidence.” Allison, 184

   F.3d at 1311-12 (quoting Daubert, 509 U.S. at 596).

         The Court concludes that Johnson and Mills’ methodology

   is sufficiently reliable and satisfies the second factor of

   the Daubert analysis.

         C.    Johnson and Mills Will Assist the Trier of Fact

         Expert testimony is helpful to the trier of fact “if it

   concerns matters that are beyond the understanding of the

   average lay person.” United States v. Frazier, 387 F.3d 1244,

   1262 (11th Cir. 2004). In other words, “[p]roffered expert

   testimony generally will not help the trier of fact when it




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   offers nothing more than what lawyers for the parties can

   argue in closing arguments.” Id. at 1262–63.

         As previously stated, Johnson has more than forty-four

   years of professional experience in the field of economics.

   (Doc. # 62-1 at ¶ 2). He has received an MBA and continues to

   receive post-graduate training. (Id.). It is unlikely that

   the average lay person possesses the education and training

   necessary to understand the analysis and methodologies used

   to calculate Bostick’s future lost earning capacity. Thus,

   the Court finds that Johnson and Mills’ testimony will assist

   the trier of fact and denies the Motion to Strike.

         Accordingly, it is

         ORDERED, ADJUDGED, and DECREED:

         Defendant    State    Farm    Mutual    Automobile   Insurance

   Company’s    Motion   to   Strike   Certain   Expert   Opinions   and

   Testimony of Robert W. Johnson and James A. Mills (Doc. # 51)

   is DENIED.

         DONE and ORDERED in Chambers in Tampa, Florida, this

   20th day of June, 2017.




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